Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 1 of 16




                       EXHIBIT A
                 Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 2 of 16


                                 IN THE STATE COURT OF DEKALB COUNTY

                                                   STATE OF GEORGIA
TIMOTHY MUNDY

                                                                                    CIVIL ACTIg11P402424
                                                                                    NUMBER:

                                     PLAINTIFF


                      VS.
AMERICAN MEDICAL RESPONSE INC.




                                     DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney; whose name
and address is:
                                                 The Mignott Law Group, LLC
                                                 4945 Presidents Way
                                                 Tucker, Georgia 30084

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail 'to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This   19                   day of   MAY                                        20 21 .

                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of Superior Court

                                                                                    Siana Smith
                                                                           By
                                                                                          Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011



                                                                                                                    STATE COURT OF
                                                                                                                 DEKALB COUNTY, GA,
                                                                                                                    5/19/2021 7:07 PM
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               Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 3 of 16


                      General Civil and Domestic Relations Case Filing Information Form

                         ❑ Superior or 0 State Court of                  DEKALB            County

       For Clerk Use
                   59Y(Y2021                                                   21A02424
       Date Filed                                           Case Number
                     MM-DD-YYYY

Plaintiff(s)                                                 Defendant(s)
MUNDY, TIMOTHY                                               AMERICAN MEDICAL RESPONSE, INC.
Last          First           Middle I.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix


Last          First           Middle I.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix


Last          Fir:t           Middle I.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix


Last          First           Middle I.   Suffix   Prefix     Last             First          Middle I.   Suffix   Prefix

Plaintiff's Attorney MARSHA W. MIGNOTT, ESQ.                   Bar Number 141933                   Self-Represented ❑

                                            Check One Case Type in One Box

       General Civil Cases' -                                        Domestic Relations Cases
       ❑       Automobile Tort                                       ❑       Adoption
       ❑       Civil Appeal                                          ❑       Dissolution/Divorce/Separate
       ❑       Contract                                                      Maintenance
       ❑       Garnishment                                           ❑       Family Violence Petition
       Z       General Tort                                          ❑       Paternity/Legitimation
       ❑       Habeas Corpus                                         ❑       Support — IV-D
       ❑       Injunction/Mandamus/Other Writ                        ❑       Support — Private (non-IV-D)
       ❑       Landlord/Tenant                                       ❑       Other pomestic Relations
       ❑       Medical Malpractice Tort
       ❑       Product Liability Tort                                rost-juaament — cnecic vne case rvoe
       ❑       Real Property
                          "                                          ❑       Contempt
       ❑       Restraining Petition                                      ❑    Non-payment of child support,
       ❑       Other General Civi)                                           medical support, or alimony
                                                                     ❑       Modification
                                                                     ❑       Other/Administrative

❑      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
       of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                Case Number                                  Case Number

0      I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
       redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

❑      Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                          Language(s) Required

❑      Do you or your client need any disability accommodations? If so, please describe the accommodation request.




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                     IN THE STATE COURT OF DEKALB COUNTY
                               STATE OF GEORGIA

TIMOTHY MUNDY                                        )
                                                     )       CIVIL ACTION21 A02424
                      Plaintiff,                     )       FILE NO.:
vs.                                                  )
                                                     )
AMERICAN MEDICAL RESPONSE, INC.                      )
                                                     )
                      Defendant.                     )


                  COMPLAINT FOR DAMAGES AND OTHER RELIEF

       COMES NOW, TIMOTHY MUNDY, Plaintiff in the above styled action and files this,

his Complaint for Damages and other relief against the Defendant, AMERICAN MEDICAL

RESPONSE, INC as follows:

                                                1.

       Plaintiff is a citizen and resident of Dekalb County, Georgia.

                                                2.

       Defendant is a Delaware Corporation located at 6363 S. Fiddler's Green Circle, Suite

1400, Greenwood Village, CO, 80111. Defendant operates an ambulance service in Dekalb

County and the incident at issue occurred in Dekalb County, Georgia. Defendant may be

personally served by and through their registered agent Corporation Service Company located at

2 Sun Court, Suite 400, Peachtree Corners, Georgia, 30092.

                                                3.

       Jurisdiction and Venue is proper in Dekalb County.




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       Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 5 of 16




                                 FACTUAL ALLEGATIONS
                                                4.

       On June 20, 2019, Plaintiff, Timothy Mundy, was in his home located at 1123 Old Coach

Road, Stone Mouritain, Georgia 30083, when he fell and injured his right knee.

                                                5.

       Plaintiff's wife called 911 for emergency assistance and was instructed by the 911

operator for Plaintiff to remain on the floor until the Emergency Medical Technicians ("EMT")

and Paramedics arrived.

                                                W

       Upon the arrival of the ambulance, two (2) undisclosed technicians were drawn to

Plaintiff's knee injury, specifically the fact that the knee bone was protruding through the skin

and was dislocated from the knee socket.

                                                7.

       A prelimiriary evaluation of the Plaintiff's injury occurred and one of the technicians

asked Plaintiff to stand and take some steps. Plaintiff managed to stand with the assistance of the

technician; however, he was unable to stand and walk unassisted. Plaintiff began to take an

assisted step when he was released by one of the technician's and his knee gave out which

caused him to fall a second time. Said fall resulted in an injury to Plaintiff's left shoulder, in

addition to his knee injury.



       Defendant failed to assess and handle Plaintiff's emergency with due regard for the safety

of the patient. The actions of the Defendant's employees jeopardized the health and/or safety of a

patient, resulting in abandonment and mistreatment of the Plaintiff.
        Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 6 of 16




                                                 a
        Plaintiff fell a second time under the care of the emergency technicians. The torque and

unrelenting force of said fall, resulted in Plaintiff being taken to the hospital with a need for

surgery for both injuries.

                                                10.

        Plaintiff, Timothy Mundy was seriously injured as a direct result of the second fall

caused by the Defendant.

                                                11.

        As a result of the above-described fall, Plaintiff Timothy Mundy was taken to Dekalb

Medical Center emergency room department and had to undergo surgery on his right knee and

left shoulder for his torn rotator cuff. Moreover, Plaintiff's quality of life walking and lifting is

not the same as prior to the incident; in that, his knee and shoulder injury will affect him for the

rest of his life.

                                                12.

        Plaintiff suffered and continues to suffer physical and mental pain and suffering; has

incurred medical expenses and will incur future medical expenses for medical care and attention

in the future; and has suffered and will continue to suffer a diminution in the quality of his

physical health and quality of life as a direct result thereof. Said damages should be measured Iby

the enlightened conscience of a fair and impartial jury.

                                                13.

        Plaintiff claims all general and special damages allowed by Georgia Law, which may be

proved at trial.
       Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 7 of 16




                                              COUNTI

                                        (Simple Negligence)

                                                  14.

       Plaintiff Timothy Mundy incorporates by reference paragraphs "1" through "13" of his

complaint into Count I as if fully set forth herein.

                                                  15.

       Defendant's actions were negligent, causing personal injuries to Plaintiff. Plaintiff is

entitled to comperisatory, general, special and actual damages in an amount to be determined lby

the enlightened conscience of the jury.

                                             COUNTII

                                        (Negligence Per Se)

                                                 16.

       Plaintiff Timothy Mundy incorporates by reference paragraphs "1" through "15" of his

complaint into Count II as if fully set forth herein.

                                                 17.

       Defendant American Medical Response, Inc. failed to exercise due regard in violation of

Ga. Code Rule 511-9-2-.18 (Standard of Conduct for Licensee)



       Defendant took action that jeopardized the health or safety of a patient, including without

limitation the abandonment or mistreatment of a patient regard in violation of Ga. Code Rule

511-9-2-.18 (Standard of Conduct for Licensee) and negligent conduct, therefore, your actions

were negligent per se in causing injuries to Plaintiff TIMOTHY MIJNDY thus entitling him to

damages.
      Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 8 of 16




                                            19.

       The Deferidant's negligence includes, but is not limited to, the following facts or

omissions:

   (a) Defendant American Medical Response, Inc causing Plaintiff to fall a second time after

      his emergency call to 911;

   (b) Defendant American Medical Response, Inc failed to exercise ordinary care to prevent

      injury to Plaintiff TIMOTHY MUNDY;

   (c) Defendant American Medical Response, Inc failed to exercise due regard to prevent

      injury to Plaintiff TIMOTHY MUNDY;

   (d) Defendant American Medical Response, Inc technicians asked the Plaintiff to walk

      despite his knee bone protruding through his knee in violation of O.C.G.A. § 31-11-

      81(1);

   (e) Defendant American Medical Response, Inc violated Ga. Code Rule 511-9-2-.18

      (Standard of Conduct for Licensee), with such violation, and others, amounting to

      negligence per se;

   (f) Defendant American Medical Response, Inc violated O.C.G.A. § 31-11-81(1); Placing

      the patient's health in serious jeopardy; Serious impairment to bodily functions; or

      Serious dysfunction of any bodily organ or part with such violation, and others,

      amounting to negligence per se; and

   (g) By committing other negligent and reckless acts and omissions as may be shown by the

      evidence and proven at trial.
       Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 9 of 16




                                                  20.

       Plaintiff TIMOTHY MUNDY is entitled to compensatory, general and special damages,

in an amount to be determined by the enlightened conscience of the jury.

                                             COUNT III

                                       (Respondeat Superior)

                                                  21.

       Plaintiff Timothy Mundy incorporates by reference paragraphs "1" through "20" of his

complaint into Count III as if fully set forth herein.

                                                  22.

       Plaintiff submits that the Defendant's employees/agents were acting within the scope of

their employment at the time of Plaintiff's injuries; therefore, O.C.G.A. 51-2-4 an employer is

liable for injuries to another proximately resulting from the acts of an employee committed

within the scope of his or her employment.

                                             COUNTIV

                          (Attorney's Fees and Expenses of Litigation)

                                                  23.

       Plaintiff Timothy Mundy incorporates by reference paragraphs "1" through "22" of his

complaint into Count IV as if fully set forth herein.

                                                  24.

       There is no bona fide controversy as to the liability of the Defendant for the fall and for

the resulting injuries and damages suffered by Plaintiff as stated herein. In the event Defendant

denies responsibility for any part of the fall or its consequences, Plaintiff is entitled to recover his
      Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 10 of 16




costs of litigation, including reasonable attorney's fees, pursuant to the provisions of O.C.G.A. §

13-6-11.

       WHEREFORE, Plaintiff prays:


       (a) That process and summons issue, as required by law, requiring Defendants to appear

           and answer Plaintiff's Complaint for Damages and Other Relief;

       (b) That Plaintiff have a trial by jury;

       (c) That Plaintiff has and recovers damages sufficient to coinpensate him fully, fairly and

           completely for all his losses compensable under Georgia law;

       (d) The Plaintiff has and recover his costs of litigation, including reasonable attorney's

           fees; arid

       (e) That Plaintiff have such other and further relief as this Court may deems just and

           proper.


   This 19th day of April, 2021.

                                                     /s/MaYsha W. Mignott
                                                     Marsha W. Mignott
                                                     Georgia Bar No. 141933
                                                     Attorney for Plaintiff

THE MIGNOTT LAW GROUP, LLC
4945 Presidents Way
Tucker, Georgia 30084
(770) 621-5499 Office
(770) 621-5496 Fax
ILMers@mignottlaw.com


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Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 11 of 16




                      IN THE STATE COURT OF DEICALB COUNTY
                                STATE OF GEORGIA

   TIIVIOT)FIY NIUNDY
                                                                 CIYIL ACTIOR-1 A02424
                          P9aetataff,                            FILE NO.:


   AMERICAN MEDDICAL RESPONSE, INC.

                          Defendant.

                                           YERIFICATION

          IN PERSON before the undersigned officer authorized by law to administer oaths

   appeared TIMOTI-IY 1VIUN])Y, who after being first duly sworn according to law, on

   oath deposes and states that the facts alleged within the foregoing Pleading are true and

   correct to the best of his direct knowledge, understanding, and belief.




  Sworn to and subscribed before me

  This Q ct     day of                                      ~~1 41GNO j T,',~i
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                 IN THE STATE COURT OF DEKAL,B COUNTY
                                                                         W         CRIGINA ,
                               STATE OF GEORGIA




 RE:    Permanent Process servers


                                STANDING ORDER

               Pursuant to O.C.G.A. § 9-11-4 (c), this court provides herein that any

 person who has completed the application process for appointment as a permanent

 process server in the Superior Court of DeKalb County in 2019, and has been

 appointed as a permanent process server in said Court for 2019, shall be deemed to

 be appointed as a permanent process server in the State Court of DeKalb County.

 Permanent process servers wishing to rely upon this order shall be required to

 attach a copy of their Superior Court order of appointment to any affidavit of

 service that is required to be filed with the Court. All appointments arising

 pursuant to this order shall be effective until midnight, December 31, 2019.


 SO ORDERED, this —7— of January 2019.




                             Wayne M. Purdom, Chief Judge




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P.URSUANTTQ O C G:A; §94'1.-4(c.}'


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        The :foregoing acnotion ha~ing been read and consi~er~ti, it as, HEI~EB:Y C3RDERED tliat
thc fall¢witzg i~tcllviduaits}, is/are appointed as.a,perm~ process seraer pursu~rtt to: Q C,G.A..



                                     JAMESF ,S
                                             ,, JIASHAM


             ''This sppointtrteut sh~i1 be effeotive untiI midn.i~ht Decem.ber,3.1:, 2021.



                        I°T IS SQ ORDERED. this 9kof 0,eceMber. 2030.




                                                               Honar-able.A _ .,Jackson:
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                                                               Stone Nlouritain:Judicial Circuit
                 Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 14 of 16


                                     IN   THE STATE COURT OF DEKALB COUNTY
                                                 STATE OF GEORGIA

          TIMOTHY MUNDY,

                  PLAINTIFF,
                                                                                     CASE #: 21A02424
          VS.
          AMERICAN MEDICAL RESPONSE, INC.

                 DEFENDANT’S,


          STATE OF GEORGIA
          WALTON COUNTY
                                             AFFIDAVIT OF SERVICE


                Personally, appeared before the undersigned, an officer
                                                                           duly authorizes by law to administer
          oaths, James Basham, a United States Citizen and over the
                                                                        age of 18 years after being duly sworn,
          deposes and states that the statements set forth below are true and accur
                                                                                    ate.


                                                                  1.
                On MAY 20, 2021, at approximately 11 :45
                                                         A.M., American Medical Response, lnc., Defendant
         in the above referenced matter, was served with
                                                         the Summons, General Civil and Domestic Relati
                                                                                                            ons
         Case Filing information Form, Complaint for Dama      and   Other Relief and Veriﬁcation. Service was
                                                           ges
         perfected on Barry Smith, an authorized agent of Corpo
                                                                ration Service Company, the reported
         Registered for American Medical Response, lnc. Service was
                                                                       perfected at 2 Sun Ct. Peachtree
         Corners, Georgia 30092.


         Sworn to and Subscribed before me
         this 14th day
                       of May 2021 .f                                    Affian          sBa

         NOTARFPéBLIC "E                                 \“
         My commission expires on 11/21/21          \\    NAS I”,
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                                                                                 County




                                   IN THE SUPERIOR COURT OF DEKALB COUNTY
                                                   STATE OF GEORGIA
              IN RE:

              MOTION FOR APPOINTMENT AS                             I     CIVIL ACTION FILE NUMBER:
              PERMANENT PROCESS SERVER                              -

                                                                                     90mm {3%3

              PURSUANT TO O.C.G.A. §9-11-4(c)


                               ORDER APPOINTING PERMANENT PROCESS SERVER
                                         FOR CALENDAR YEAR 2021

                      The foregoing motion having been read and considered, it is HEREBY ORDERED that
              the following individua1(s) is/are appointed as a permanent process server pursuant to O.C.G.A.
              §9-1 1-4(c):


                                                   JAMES S BASHAM

                             This appointment shall be eﬁ‘ective until midnight December 31, 2021.



                                      IT IS. SO ORDERED this 9th of December 2020.
                                                                                                                3|




                                                                               Ayn...»
                                                                                AM.
                                                                          Honorable          Jackson
                                                                          Chief and Administrative Judge
                                                                          Superior Court of DeKalb County
                                                                          Stone Mountain Judicial Circuit




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                   Case 1:21-cv-02506-VMC Document 1-1 Filed 06/21/21 Page 16 of 16




                                  IN THE STATE COURT OF DEKALB COUNTY

                                               STATE OF GEORGIA



            RE:    Permanent Process Servers


                                                STANDINQ QRDER

            Pursuant to O.C.G.A. § 9-11-4 (c), this Court provides herein that any person who
            has completed the application process for appointment as a permanent process
            server in the Superior Court of DeKaib County for 2021, and has been appointed as
            a permanent process server in said Court for 2021, shall be deemed to be appointed
            as a permanent process server in the State Court of DeKalb County. Permanent

            process servers wishing to rely upon this order shall be required to attach a copy   of
            their Superior Court order of appointment to any afﬁdavit of service that is

            required to be tiled with the Court. All appointments arising pursuant to this order
            shall be effective until midnight, December 31, 2021.


                                              so ORDERED, this    ‘9    of December 2020.




                                                                    MW 017%
                                                                 Wayne M. Purdom, Chief Judge
                                                                 State Court of DeKalb County




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